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                       EXHIBIT D
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                            Secretary of State                                                      LLC-12                                        19-E63272
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  DEC 13, 2019
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  PUBLISHERS CLEARING HOUSE LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201620010005                                               NEW YORK
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 300 JERICHO QUADRANGLE, #300                                                                        JERICHO                                                       NY       11753
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 300 JERICHO QUADRANGLE, #300                                                                        JERICHO                                                       NY       11753
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
                                                                                                                                                                    CA
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  MICHAEL                                                                                                                            COOPER
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  300 JERICHO QUADRANGLE #300                                                                        JERICHO                                                       NY      11753
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
                                                                                                                                                                    CA
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b

NATIONAL REGISTERED AGENTS, INC. (C1941323)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 DIRECT MAIL MARKETING
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix


 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   12/13/2019                    Christopher Cheung                                                                    Authorized Signatory
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                            2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
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                  Secretary of State                                            LLC-12NC                         20-C17450
                  Statement of No Change
                  (Limited Liability Company)
                                                                                                                     FILED
                                                                                                     In the office of the Secretary of State
IMPORTANT — Read instructions before completing this form. This form may
                                                                                                            of the State of California
be used only if a complete Statement of Information has been filed previously
and there has been no change.
                                                                                                                     MAY 27, 2020
Filing Fee – $20.00

Copy Fee – $1.00;
           Certification Fee - $5.00 plus copy fee
                                                                                                        This Space For Office Use Only

1. Limited Liability Company Name (Enter the exact name of the LLC as it is recorded with the California Secretary of State. Note:
    If you registered in California using an alternate name, see instructions.)

PUBLISHERS CLEARING HOUSE LLC




2. 12-Digit Secretary of State File Number                      3. State, Foreign Country or Place of Organization (only if formed
                                                                     outside of California)

                   201620010005                                        NEW YORK

4. No Change Statement (Do not alter the No Change Statement. If there has been any change, please complete a Statement of
       Information (Form LLC-12).)

         There has been no change in any of the information contained in the
         previous complete Statement of Information filed with the California
         Secretary of State.

5. The information contained herein is true and correct.



05/27/2020
___________________
                    JUDY  CULVER
                       ___________________________________
                                                                                 AUTHORIZED     SIGNATORY
                                                                                 _____________________ ____________________________________
Date                         Type or Print Name of Person Completing the Form     Title                  Signature




Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the
filed document, enter the name of a person or company and the mailing address. This information will become public when filed.
(SEE INSTRUCTIONS BEFORE COMPLETING.)


Name:                                                                                        
Company:
Address:

City/State/Zip:                                                                              

  LLC-12NC (REV 01/2017)                                                                                         2017 California Secretary of State
                                                                                                                      www.sos.ca.gov/business/be
